Case 1:23-cv-03600-RDM Document 32-1 Filed 0 “fi Pag ch FE 2)
UIE Udi

IN THE UNITED STATES DIS¢ ? Aly. A)'7 48

THE SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION,

Plaintiff, Civil Action No.

Ve

UNION CARBIDE CORPORATION,

Swe Sew aS wae Se ww

Defendant.
COMPLAINT
1. Plaintiff, the Federal Trade Commission, by) =
” ee

its undersigned attorneys designated by it, brings this f

action under Sections 16(a)(1) and 5(1) of the Federal com

tw --¥{

Trade Commission Act, as amended, 15 U.S.C. §§56(a)
and 45(1), for civil penalties, injunctive relief and
for such other equitable relief as the court deems

appropriate, for violations of a final order to cease

and desist issued by the Federal Trade Commission.

JURISDICTION AND VENUE

2. This court has subject matter jurisdiction
pursuant to 28 U.S.C. §§1337, 1345, 1355, and 15 U.S.C.

§45(1).

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 2 of 62

3. Defendant, Union Carbide Corporation, is a
corporation organized and existing under the laws of
the state of New York. Defendant's corporate
headquarters are located at Old Ridgebury Road,
Danbury, Connecticut 06817. Venue in the Southern
District of New York is based upon 28 U.S.C. §§1391(b)
and (c) and 1395(a).

4. Defendant, Union Carbide Corporation, is one
of the largest industrial companies in the United
States. It is engaged in the manufacture,
distribution, and sale of petrochemicals, industrial
gases, metal and carbon products, and technology
services and specialty products. Its Linde Division is
a leading domestic producer of industrial gases.

5. Defendant is and has been at all times
pertinent to this proceeding engaged in commerce as
"commerce" is defined in the Federal Trade Commission

Act, as amended, 15 U.S.C. §44.

FEDERAL TRADE COMMISSION ORDER

6. On September 28, 1977, in a proceeding
entitled "In the Matter of Union Carbide Corporation,"
FTC Docket No. C-2902, the Federal Trade Commission

issued a complaint charging Union Carbide Corporation

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 3 of 62

with violating Section 5 of the Federal Trade
Commission Act, 15 U.S.C. §45, and Sections 3 and 7 of
the Clayton Act, 15 U.S.C. §§14 and 18. By decision
and order of the same date, entered pursuant to the
agreement of the defendant, the Commission issued its
order to cease and desist ("Order"). A copy of said

Order is attached hereto and made a part hereof.

Vs Paragraph I of the Order provides in part:

It is ordered and directed, That for a

period of twenty (20) years from the date of
service of this Order, respondent Union
Carbide Corporation (hereinafter Union
Carbide), its subsidiaries, divisions,
affiliates, successors, and assigns, in
connection with the distribution, offering for
sale, or sale of Industrial Gases or Welding
Products to Distributors in which it owns less

than a majority interest, shall:

A. Not offer, renew, extend or enter
into any contracts or agreements, or enforce
directly or indirectly those provisions of any
contract or agreement, which require any

Distributor:

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 4 of 62

1. to purchase from Union Carbide all or
any part of its requirements of any Industrial
Gas unless (a) the initial term of such
contract or agreement is one year or less, and
(b) such contract or agreement may be
terminated by either party effective on any
anniversary date upon written notice given
some minimum period in advance of such date as
set forth in such contract, such minimum

period to be not more than ninety (90) days;

8. The order of the Federal Trade Commission was
duly served upon the defendant and became final on
October 18, 1977. The order has not at any time been
modified or set aside in any manner relevant hereto,
and is now and has been at all times since October 18,

1977 in full force and effect.

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 5 of 62

FTC ORDER VIOLATIONS

COUNT I

9. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

10. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Post Welding Supply Co., Box 10763,
Birmingham, Alabama 35202, a contract or agreement for
the purchase and sale of acetylene that did not both
have an initial term of one year or less and allow
either party to terminate such contract or agreement
annually upon giving no more than ninety days written
notice. The contract or agreement was effective on or
about August 1, 1980, and has continued in effect until

the present time.
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 6 of 62

COUNT II

ll. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

12. Defendant has violated Paragraph I.A.1 of the
Order by offering to and entering with Capital Welding
Supply Company, 900 E. Second Street, Little Rock,
Arkansas 77201, a contract or agreement for the
purchase and sale of oxygen, nitrogen, argon, and
acetylene that did not both have an initial term of one
year or less and allow either party to terminate such
contract or agreement annually upon giving no more than
ninety days written notice. The contract or agreement
was effective on or about August 1, 1981, and continued

in effect until July, 1984.

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 7 of 62

COUNT III

13. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

14. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with The Jimmie Jones Company, 31 North
Peoria, Tulsa, Oklahoma 74120, a contract or agreement
for the purchase and sale of acetylene that did not
both have an initial term of one year or less and allow
either party to terminate such contract or agreement
annually upon giving no more than ninety days written
notice. The contract or agreement was effective on or
about October 1, 1981, and has continued in effect

until the present time.

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 8 of 62

COUNT IV

15. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

16. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Burnidge Welding Supply, Inc., Rural
Route 1, Box 26B, Pittsburg, Kansas 66762, a contract
or agreement for the purchase and sale of argon that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about January 1, 1983, and has

continued in effect until the present time.

SS ee Se ee, OS Oe SS SSS OS SS Se ae eee SS TS SS SS ee 1

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 9 of 62

COUNT V

17. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

18. Defendant has violated and is violating
Paragraph I.A.1. of the Order by offering to and
entering with The Jimmie Jones Company, 31 North
Peoria, Tulsa, Oklahoma 74120, a contract or agreement
for the purchase and sale of argon that did not both
have an initial term of one year or less and allow
either party to terminate such contract or agreement
annually upon giving no more than ninety days written
notice. The contract or agreement was effective on or
apout January 1, 1982 and has continued in effect until

the present time.

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 10 of 62

COUNT VI

19. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

20. Defendant has violated Paragraph I.A.1 of the
Order by offering to and entering with AAA Cylinder
Gases, Inc., 910 South Roach St., Jackson, Mississippi
39207, a contract or agreement for the purchase and
sale of acetylene that did not both have an initial
term of one year or less and allow either party to
terminate such contract or agreement annually upon
giving no more than ninety days written notice. The
contract or agreement was effective on or about
February 1, 1983, and continued in effect until

January 31, 1986.
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 11 of 62

COUNT VII

21. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

22. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Burnidge Welding Supply, Inc., Rural
Route 1, Box 26B, Pittsburg, Kansas 66762, a contract
or agreement for the purchase and sale of acetylene
that did not both have an initial term of one year or
less and allow either party to terminate such contract
or agreement annually upon giving no more than ninety
days written notice. The contract or agreement was
effective on or about July 1, 1983, and has continued

in effect until the present time.

-l]1]-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 12 of 62

COUNT VIII

23. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

24. Defendant has violated and is violating
Paragraph 1.A.1 of the Order by offering to and
entering with Genesee Welding Supply, Inc., G-3312
South Dort Highway, Burton, Michigan 48529, a contract
or agreement for the purchase and sale of nitrogen,
argon, and acetylene that did not both have an initial
term of one year or less and allow either party to
terminate such contract or agreement annually upon
giving no more than ninety days written notice. The
contract or agreement was effective on or about July l,
1983, and has continued in effect until the present

time.

-12-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 13 of 62

COUNT IX

25. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

26. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Coastal Welding Supply, Box 3029,
Beaumont, Texas 77704, a contract or agreement for the
purchase and sale of acetylene that did not both have
an initial term of one year or less and allow either
party to terminate such contract or agreement annually
upon giving no more than ninety days written notice.
The contract or agreement was effective on or about
July 21, 1983, and has continued in effect until the

present time.
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 14 of 62

COUNT X

27. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

28. Defendant has violated and is violating
Paragraph I1.A.1 of the Order by offering to and
entering with Mineweld Company of Indiana, Inc., 5430
West Morris Street, Indianapolis, Indiana 46241, a
contract or agreement for the purchase and sale of
acetylene that did not both have an initial term of one
year or less and allow either party to terminate such
contract or agreement annually upon giving no more than
ninety days written notice. The contract or agreement
was effective on or about August 1, 1983, and has

continued in effect until the present time.

-14-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 15 of 62

COUNT XI

29. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

30. Defendant has violated Paragraph I1.A.1 of the
Order by offering to and entering with Newkirk Sales
Co., 306 Thorson, Waterloo, Iowa 50704, a contract or
agreement for the purchase and sale of acetylene that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about August 1, 1983, and continued in

effect until October, 1985.

-15-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 16 of 62

COUNT XII

31. The allegations contained in Paragraphs 1l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

32. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Louisiana Welding Supply Co., 1931 Plank
Road, Baton Rouge, Louisiana 70802, a contract or
agreement for the purchase and sale of oxygen,
nitrogen, argon, and acetylene that did not both have
an initial term of one year or less and allow either
party to terminate such contract or agreement annually
upon giving no more than ninety days written notice.
The contract or agreement was effective on or about
July 1, 1983, and has continued in effect until the

present time.

-16-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 17 of 62

COUNT XIII

33. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

34. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Illini Welding Supplies, Inc., 2100 North
8th Street, Pekin, Illinois 61554, a contract or
agreement for the purchase and sale of acetylene that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about October 1, 1983, and has

continued in effect until the present time.

-17-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 18 of 62

COUNT XIV

35. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

36. Defendant has violated Paragraph I.A.1 of the
Order by offering to and entering with R&R Welding
Supply Co., 1700 Second kvenne, Des Moines, Iowa 50301,
a contract or agreement for the purchase and sale of
acetylene that did not both have an initial term of one
year or less and allow either party to terminate such
contract or agreement annually upon giving no more than
ninety days written notice. The contract or agreement

was effective on or about October 1, 1983, and

continued in effect until June 1, 1985.

-18-

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 19 of 62

COUNT XV

37. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

38. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Red Ball Oxygen Co., Inc., 609 N. Market
St., Shreveport, Louisiana 71107, a contract or
agreement for the purchase and sale of acetylene that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about October 1, 1983, and has

continued in effect until the present time.

-19-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 20 of 62

COUNT XVI

39. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

40. Defendant has violated Paragraph I.A.1 of the
Order by offering to and entering with United Welding
Supply Company, 24 River Street, Amsterdam, New York
12010, a contract or agreement for the purchase and
sale of oxygen, nitrogen, argon, and acetylene that did
not both have an initial term of one year or less and
allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about October 1, 1983 and continued in

effect until on or about March 1, 1985.

-20-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 21 of 62

COUNT XVII

41. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

42. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Alamo Welding Supply Co., 1735 South
Alamo, San Antonio, Texas 78204, a contract or
agreement for the purchase and sale of acetylene that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about January 1, 1984, and has

continued in effect until the present time.

-2l1-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 22 of 62

COUNT XVIII

43. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

44. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Welders Needs, Inc., 1219 Expressway
Drive, North, Toledo, Ohio 43608, a contract or
agreement for the purchase and sale of acetylene,
nitrogen, argon, and helium that did not both have an
initial term of one year or less and allow either party
to terminate such contract or agreement annually upon
giving no more than ninety days written notice. The
contract or agreement was effective on or about
January 4, 1984, and has continued in effect until the

present time.

-22-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 23 of 62

COUNT XIX

45. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

46. Defendant has violated and is violating
Paragraph I1.A.1 of the Order by offering to and
entering with Guttman Welding Supply Co., 200 Speers
Rd., Belle Vernon, Pennsylvania 15012, a contract or
agreement for the purchase and sale of acetylene that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about February 1, 1984, and has

continued in effect until the present time.

~—75—
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 24 of 62

COUNT XX

47. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

48. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Greene Welding Stpply, 2707 Newcombe
Street, Monroe, Louisiana 71201, a contract or
agreement for the purchase and sale of acetylene that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about June 1, 1984, and has continued

in effect until the present time.

-24-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 25 of 62

COUNT XXI

49. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

50. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Wilson Oxygen Company, 150 E. Ben White
Blvd., Austin, Texas 78704, a contract or agreement for
the purchase and sale of argon that did not both have
an initial term of one year or less and allow either
party to terminate such contract or agreement annually
upon giving no more than ninety days written notice.
The contract or agreement was effective on or about
June 1, 1984, and has continued in effect until the

present time.

-25-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 26 of 62

COUNT XXII

51. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

52. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Grand Rapids Welding Supply Co., 1225
Buchanan Avenue, S.W., Grand Rapids, Michigan 49507, a
contract or agreement for the purchase and sale of
argon that did not both have an initial term of one
year or less and allow either party to terminate such
contract or agreement annually upon giving no more than
ninety days written notice. The contract or agreement
was effective on or about July 1, 1984, and has

continued in effect until the present time.

-26-
Case. 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 27 of 62

COUNT XXIII

53. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

54. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with Standard Welders Supply Co., 363 Walnut
Street, Memphis, Tennessee 38101, a contract or
agreement for the purchase and sale of acetylene that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was
effective on or about July 1, 1984, and has continued

in effect until the present time.

-27-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 28 of 62

COUNT XXIV

55. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

56. Defendant has violated and is violating
Paragraph I1.A.1 of the Order by offering to and
entering with Bennett Welding Supply Corporation, 9200
Gage Avenue, Franklin Park, Illinois 60131, a contract
or agreement for the purchase and sale of acetylene
that did not both have an initial term of one year or
less and allow either party to terminate such contract
or agreement annually upon giving no more than ninety
days written notice. The contract or agreement was
effective on or about October 1, 1984, and has

continued in effect until the present time.

-28-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 29 of 62

COUNT XXV

57. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

58. Defendant has violated and is violating
Paragraph I.A.1 of the Order by offering to and
entering with United Welding Supply Company, 24 River
Street, Amsterdam, New York 12010, a contract or
agreement for the purchase and sale of oxygen,
nitrogen, argon, and acetylene that did not both have
an initial term of one year or less and allow either
party to terminate such contract or agreement annually
upon giving no more than ninety days written notice.
The contract or agreement was effective on or about
March 1, 1985, and has continued in effect until the

present time.

=29—
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 30 of 62

COUNT XXVI

59. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

60. Defendant has violated Paragraph I.A.1 of the
Order by offering to Lake Welding Supply Company, 363
Ottawa Street, Muskegon, Michigan 49443, a contract or
agreement for the purchase and sale of acetylene that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was offered

in or about 1982.
Case. 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 31 of 62

COUNT XXVII

61. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

62. Defendant has violated Paragraph I.A.1 of the
Order by offering to Illini Welding Supplies, Inc.,
2100 North 8th Street, Pekin, Illinois 61554, a
contract or agreement for the purchase and sale of
oxygen, nitrogen, argon, and acetylene that did not
both have an initial term of one year or less and allow
either party to terminate such contract or agreement
annually upon giving no more than ninety days written
notice. The contract or agreement was offered on or

about April 19, 1982.

~S3i-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 32 of 62

COUNT XXVIII

63. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

64. Defendant has violated Paragraph I.A.1 of the
Order by offering to Burnidge Oxygen Distributing Co.,
900 Swift Avenue, N. Kansas City, Missouri 64116, a
contract or agreement for the purchase and sale of
argon that did not both have an initial term of one
year or less and allow either party to terminate such
contract or agreement annually upon giving no more than
ninety days written notice. The contract or agreement

was offered on or about April 1l, 1984.

=-32-

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 33 of 62

COUNT XXIX

65. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

66. Defendant has violated Paragraph I.A.1 of the
Order by offering to Pennsylvania Welding Supply
Company, 2510 Route 73, Cinnaminson, New Jersey 08077,
a contract or agreement for the purchase and sale of
oxygen, nitrogen, argon, acetylene, and helium that did
not both have an initial term of one year or less and
allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was offered

on or about May 23, 1984.

-33-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 34 of 62

COUNT XXX

67. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

68. Defendant has violated Paragraph I1.A.1 of the
Order by offering to Wyandotte Welding Supply, Inc.,
2025 Eureka Ave., Wyandotte, Michigan 48192, a contract
or agreement for the purchase and sale of oxygen that
did not both have an initial term of one year or less
and allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was offered

on or about August 1, 1984.

-34-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 35 of 62

COUNT XXXI

69. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

70. Defendant has violated Paragraph I.A.1 of the
Order by offering to ABCO Welding and Industrial Supply
Co., 130 Cross Road, Waterford, Connecticut 06385, a
contract or agreement for the purchase and sale of
argon that did not both have an initial term of one
year or less and allow either party to terminate such
contract or agreement annually upon giving no more than
ninety days written notice. The contract or agreement

was offered on or about February 19, 1985.

=35-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 36 of 62

COUNT XXXII

71. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

72. Defendant has violated Paragraph I.A.1 of the
Order by offering to Arundel Sales & Service Co., 1625
Union Ave., Baltimore, Maryland 21211, a contract or
agreement for the purchase and sale of argon that did
not both have an initial term of one year or less and
allow either party to terminate such contract or
agreement annually upon giving no more than ninety days
written notice. The contract or agreement was offered

on or about March 29, 1985.

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 37 of 62

COUNT XXXIII

73. The allegations contained in Paragraphs l
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

74. Defendant has violated Paragraph I.A.1 of the
Order by offering to Herr Welding Supply, Inc., 2635
Sycamore Street, Harrisburg, Pennsylvania 1711l, a
contract or agreement for the purchase and sale of
argon that did not both have an initial term of one
year or less and allow either party to terminate such
contract or agreement annually upon giving no more than
ninety days written notice. The contract or agreement

was offered on or about June 14, 1985.

=-37-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 38 of 62

COUNT XXXIV

75. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

76. Defendant has violated Paragraph I.A.1 of the
Order by offering to Herr Welding Supply, Inc., 2635
Sycamore Street, Harrisburg, Pennsylvania 17111, a
contract or agreement for the purchase and sale of
oxygen that did not both have an initial term of one
year or less and allow either party to terminate such
contract or agreement annually upon giving no more than
ninety days written notice. The contract or agreement

was offered on or about June 20, 1985.

-38-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 39 of 62

COUNT XXXV

77. ‘The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

78. Defendant has violated Paragraph I.A.1 of the
Order by offering to Griffis Oxygen Inc., 786
University Avenue, St. Paul, Minnesota 55104, a
contract or agreement for the purchase and sale of
argon, nitrogen, oxygen, and acetylene that did not
both have an initial term of one year or less and allow
either party to terminate such contract or agreement
annually upon giving no more than ninety days written
notice. The contract or agreement was offered on or

about August 22, 1985.

=-39-

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 40 of 62

COUNT XXXVI

79. The allegations contained in Paragraphs 1
through 8, inclusive, are repeated and realleged as

though fully set forth herein.

80. Defendant has violated Paragraph I.A.1 of the
Order by offering to or entering with other independent
distributors contracts or agreements for the purchase
and sale of Industrial Gases that did not both have
initial terms of one year or less and allow the
distributors to terminate such contracts or agreements
annually upon giving no more than ninety days written
notice. These contracts or agreements were offered

from 1977 to the present time.

-40-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 41 of 62

WHEREFORE PLAINTIFF PRAYS:

1.6 That judgment be entered against defendant for
violation of the Order stemming from defendant's use of

long-term requirements contracts.

Zi That, for each Count I through XXV, each day
of defendant's operating pursuant to such contract or
agreement be adjudged and decreed a separate and
continuing violation of the Commission's Order
commencing on the date upon which the contract or
agreement became effective and concluding on the date
upon which the contract or agreement expired or was

terminated.

3. That, for Counts XXVI through XXXV, each of
defendant's offers be adjudged and decreed a separate

violation of the Commission's Order.
4. That civil penalties in an appropriate amount
under Section 5(1) of the Federal Trade Commission Act,

15 U.S.C. §45(1), be assessed against defendant.

5. That equitable relief be awarded as the court

May deem appropriate.

-4]-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 42 of 62

6. That plaintiff be awarded costs and disbursements of

this action and such other and further relief as the Court may

deem just and proper.

Dated: February , 1987
Washington, D.C.

bakerc b

BARBARA A. CLARK
Deputy Director

fe 2
ELLIOT FEINBERG
Assistant Director

LLubl fl Owe

DANIEL P. DUCORE

Deputy Assistant Director
Bureau of Competition
Federal Trade Commission
Washington, D.C. 20580

-42-

— dha £

DANIEL L. WELLINGTON

Ag

ERIC D. ROHLCK

Attorneys

Bureau of Competition
Federal Trade Commission
Washington, D.C. 20580
Tel. (202) 326-2687

ALFREN) J. FERROGARI \\
Attorney

New York Regional Office
Federal Trade Commission
Suite 2243

26 Federal Plaza

New York, New York 10278
Tel: (212) 264-1200

ATTORNEYS FOR PLAINTIFF
“Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 43-6f62
ran 18 1987

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION,

Plaintiff,
Ve Civil Action No. 87-748 (RO)
UNION CARBIDE CORPORATION,

Defendant.

ee ees wes ws wes ws we ws es es Ss

ANSWER OF DEFENDANT UNION CARBIDE CORPORATION
TO THE COMPLAINT

Defendant Union Carbide Corporation ("Union Carbide")
answers the Complaint herein as follows:

FIRST DEFENSE

With respect to the allegations set forth in the
relevant paragraphs of the Complaint:

1. Union Carbide admits that Plaintiff Federal Trade
Commission purports to bring this action under the statute cited
in paragraph 1, but denies that Plaintiff has a cause of action
against Defendant under that statute.

2. Union Carbide admits that this Court has subject
matter jurisdiction of this matter under the statutes cited in
paragraph 2.

3. Union Carbide admits the allegations of paragraph 3.
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 44 of 62

4. Defendant admits that it is an industrial company
in the United States engaged in the manufacture, distribution, and
sale of petrochemicals, industrial gases, metal and carbon prod-
ucts, and technology services and specialty products, and further
admits that its Linde Division is a domestic producer of indus-
trial gases. Defendant denies the remaining allegations of
paragraph 4.

5. Union Carbide admits the allegation of paragraph 5.

6. Union Carbide admits the allegations of paragraph 6.

7. Union Carbide admits that Paragraph I of the Order
contains some of the language quoted in Paragraph 7 of the Com-
plaint, but avers that the Order was amended on November 14, 1986,
inter alia, to delete the words "or Welding Products" from the
quoted paragraph.

8. Union Carbide admits the allegations_of the first
sentence of paragraph 8. Union Carbide denies the second sen-
tence, avers that the Order was amended by Order of the Commission
on November 14, 1986, and further avers that the remaining allega-
tions consist of Plaintiff's legal characterization of the Order
as to which no response is required.

9. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

10. Union Carbide denies the allegations of paragraph
10. Union Carbide avere that, on or about February 4, 1981, if

executed an amendment to its Linde Gas and Welding Products
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 45 of 62

Distributor Agreement (the "standard distributor agreement")
relating to the sale of acetylene to Post Welding Supply Co., Box
10763, Birmingham, Alabama 35202. Union Carbide further avers
that, except as subsequently amended, the revisions made by the
described amendment to the standard distributor agreement remain
in effect.

11. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

12. Union Carbide denies the allegations of paragraph
12. Union Carbide avers that, on or after October 12, 1981, it
executed an amendment to its standard distributor agreement
relating to the sale of oxygen, nitrogen, argon, and acetylene to
Capital Welding Supply, 900 East Second Street, Little Rock,
Arkansas 77201. Union Carbide further avers that such amendment
remained in effect until July, 1984.

13. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

14. Union Carbide denies the allegations of paragraph
14. Union Carbide avers that, on or after June 7, 1983, it exe-
cuted an amendment to its standard distributor agreement relating
to the sale of acetylene to The Jimmie Jones Company, 31 North
Peoria, Tulsa, Oklahoma 74120. Union Carbide curther avers

that, except as subsequently amended, the revisions made by the
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 46 of 62

described amendment to the standard distributor agreement remain
in effect.

15. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

16. Union Carbide denies the allegations of paragraph
16. Union Carbide avers that, on or about November 18, 1983, it
executed an amendment to its standard distributor agreement
relating to the sale of argon to Burnidge Welding Supply, Inc.,
Rural Route 1, Box 26B, Pittsburg, Kansas 66762. Union Carbide
further avers that, except as subsequently amended, the revisions
made by the described amendment to the standard distributor
agreement remain in effect.

17. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

18. Union Carbide denies the allegations of paragraph
18. Union Carbide avers that, on or about October 1, 1984, it
executed an amendment to its standard distributor agreement
relating to the sale of argon to The Jimmie Jones Company, 31
North Peoria, Tulsa, Oklahoma 74120. Union Carbide further avers
that, except as subsequently amended, the revisions made by the
described amendment to the standard distributor agreement remain

in effect.
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 47 of 62

19. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

20. Union Carbide denies the allegations of paragraph
20. Union Carbide avers that, on or about March 28, 1983, it
executed an amendment to its standard distributor agreement
relating to the sale of acetylene to AAA Cylinder Gases, Inc.,
910 South Roach Street, Jackson, Mississippi 39207. Union
Carbide further avers that such amendment remained in effect
until January 31, 1986.

21. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

22. Union Carbide denies the allegations of paragraph
22. Union Carbide avers that, on or about November 18, 1983, it
executed an amendment to its standard distributor agreement
relating to the sale of acetylene to Burnidge Welding Supply,
Inc., Route 1, Box 26B, Pittsburg, Kansas 66762. Union Carbide
further avers that, except as subsequently amended, the revisions
made by the described amendment to the standard distributor
agreement remain in effect.

23. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

24. Union Carbide denies the allegations of paragraph

24. Union Carbide avers that, on or after August 5, 1983, it

Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 48 of 62

agreed to enter into an amendment to its standard distributor
agreement relating to the sale of nitrogen, argon, and acetylene
to Genesee Welding Supply, Inc., G-3312 South Dort Highway,
Burton Michigan 48529. Union Carbide further avers that no such
amendment was ever executed.

25. Union Carbide also re~-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph,

26. Union Carbide denies the allegations of paragraph
26. Union Carbide avers that, on or about July 21, 1983, an
amendment was executed to its standard distributer agreement
relating to the sale of acetylene to Coastal Welding Supply, Box
3029, Beaumont, Texas 77704, Union Carbide further avers that,

except as subsequently amended, the revisions made by the de-

_ seribed amendment to the standard distributor agreement remain in

effect.

27. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

28. Union Carbide denies the allegations of paragraph
26. Union Carbide avers that, on or about September 30, 1983, it
executed an amendment to its standard distributor agreement
relating to the sale of acetylene to Mineweld Company of Indiana,
Inc., 5430 West Morris Street, Indianapolis, Indiana 46241.

Union Carbide further avers that, except as subsequently amended,
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 49 of 62

the revisions made by the described amendment to the standard
distributor agreement remain in effect.

29. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

30. Union Carbide denies the allegations of paragraph
30. Union Carbide avers that, on or about August 15, 1983, it
executed an amendment to its standard distributor agreement
relating to the sale of acetylene to Newkirk Sales Co., 306
Thorson, Waterloo, Iowa 50704. Union Carbide further avers that
such amendment remained in effect until September 1, 1985.

31. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

32. Union Carbide denies the allegations of paragraph
32. Union Carbide avers that, on or about August 16, 1983, it
executed an amendment to its standard distributor agreement re-
lating to the sale of oxygen, nitrogen, argon, and acetylene to
Louisiana Welding Supply Co., 1931 Plank Road, Baton Rouge,
Louisiana 70802. Union Carbide further avers that, except as
subsequently amended, the revisions made by the described
amendment to the standard distributor agreement remain in effect.

33. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth

in this paragraph.
3 . Oe
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 50 of 62

34. Union Carbide denies the allegations of paragraph
34. Union Carbide avers that, on or about December 9, 1983, it
executed an amendment to its standard distributor agreement
relating to the sale of acetylene to Illini Welding Supplies,
Inc., 2100 North Eighth Street, Pekin, Illinois 61554. Union
Carbide further avers that, except as subsequently amended, the
revisions made by the described amendment to the standard dis-
tributor agreement remain in effect.

35. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

36. Union Carbide denies the allegations of paragraph
36. Union Carbide avers that, on or about May 6, 1985, it exe-
cuted an amendment to its standard distributor agreement relating
to the sale of acetylene to R&R Welding Supply Co., 1700 Second
Avenue, Des Moines, Iowa 50301. Union Carbide further avers that
such amendment remained in effect until June 1, 1985.

37. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

38. Union Carbide denies the allegations of paragraph
38. Union Carbide avers that, on or about October 27, 1983, it
executed an amendment to its standard distributor agreement
relating to the sale of acetylene to Red Ball Oxygen Co., Inc.,

609 North Market Street, Shreveport, Louisiana 71107. Union
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 51 of 62

Carbide further avers that such amendment remained in effect
until September 30, 1986.

39. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

40. Union Carbide denies the allegations of paragraph
40. Union Carbide avers that, on or about October 1, 1983, it
agreed to enter into an amendment to its standard distributor
agreement relating to the sale of oxygen, nitrogen, argon, and
acetylene to United Welding Supply Company, 24 River Street,
Amsterdam, New York 12010. Union Carbide further avers that no
such amendment was ever executed.

41. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph. -

42. Union Carbide denies the allegations of paragraph
42. Union Carbide avers that, on or about June 1, 1984, it exe-
cuted an amendment to its standard distributor agreement relating
to the sale of acetylene to Alamo Welding Supply Co., 1735 South
Alamo, San Antonio, Texas 78204. Union Carbide further avers
that, except as subsequently amended, the revisions made by the
described amendment to the standard distributor agreement remain
in effect.

43. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth

in this paragraph.
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 52 of 62

44. Union Carbide denies the allegations of paragraph
44. Union Carbide avers that, on or about January 4, 1984, it
agreed to enter into an amendment to its standard distributor
agreement relating to the sale of acetylene, nitrogen, argon, and
helium to Welders Needs, Inc., 1219 Expressway Drive, North,
Toledo, Ohio 43608. Union Carbide further avers that no such
amendment was ever executed.

45. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

46. Union Carbide denies the allegations of paragraph
46. Union Carbide avers that, on or about January 17, 1984, it
agreed to amend its standard distributor agreement relating to
the sale of acetylene to Guttman Welding Supply Co., 200 Speers
Road, Belle Vernon, Pennsylvania 15012. Union Carbide further
avers that no such amendment was ever executed.

47. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

48. Union Carbide denies the allegations of paragraph
48. Union Carbide avers that, on or about June 26, 1984, it
executed an amendment to its standard distributor agreement
relating to the sale of acetylene to Greene Welding Supply, 2707
Newcombe Street, Monroe, Louisiana 71201. Union Carbide further

avers that, except as subsequently amended, the revisions made by
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 53 of 62

the described amendment to the standard distributor agreement
remain in effect.

49. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

50. Union Carbide denies the allegations of paragraph
50. Union Carbide avers that, on or about July 31, 1984, it
executed an amendment to its standard distributor agreement
relating to the sale of argon to Wilson Oxygen Company, 150 East
Ben White Boulevard, Austin, Texas 78704. Union Carbide further
avers that, except as subsequently amended, the revisions made by
the described amendment to the standard distributor agreement
remain in effect.

51. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

52. Union Carbide denies the allegations of paragraph
52. Union Carbide avers that, on or after November 15, 1984, it
executed an amendment to its standard distributor agreement
relating to the sale of argon to Grand Rapids Welding Supply Co.,
1225 Buchanan Avenue, S.W., Grand Rapids, Michigan 49507. Union
Carbide further avers that, except as subsequently amended, the
revisions made by the described amendment to the standard distri-

butor agreement remain in effect.

- lil -
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 54 of 62

S53. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

54. Union Carbide denies the allegations of paragraph
$4, Union Carbide avers that, on or about January 9, 1985, it
executed an amendment to its standard distributor contract relat-
ing to the sale of acetylene to Standard Welders Supply Co., 363
Walnut Street, Memphis, Tennessee. Union Carbide further avers
that, except as subsequently amended, the revisions made by the
described amendment to the standard distributor agreement remain
in effect.

55, Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

- 56. Union Carbide denies the allegations of paragraph
56. Union Carbide avers that, on or about February 13, 1985, it
executed an amendment to its standard distributor agreement
relating to the sale of acetylene to Bennett Welding Supply
Corporation, 9200 Gage Avenue, Franklin Park, Illinois 60131.
Union Carbide further avers that such amendment remained in
effect until September 1, 1986.

57. Union Carbide also re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

58, Union Carbide denies the allegations of paragraph

58. Union Carbide avers that, on or about March 1, 1985, it

- 12 -
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 55 of 62

revised its proposed amendment to its standard distributor agree-
ment with United Welding Supply Company, 24 River Street, Amster-
dam, New York 12010. Union Carbide re-alleges its averment in
paragraph 40 of this Answer that no such amendment was ever
executed,

59, Union Carbide re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

60. Union Carbide denies the allegations of paragraph
60. Union Carbide avers that, in or about 1982, it submitted a
proposal to amend its standard distributor agreement relating to
the sale of acetylene to Lake Welding Supply Company, 363 Ottawa
Street, Muskegon, Michigan 49443.

61. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully BEE forth in
this paragraph.

62. Union Carbide denies the allegations of paragraph
62. Union Carbide avers that, on or about April 19, 1982, it
gubmitted a proposal to amend its standard distributor agreement
relating to the sale of oxygen, nitrogen, argon, and acetylene to
Illini Welding Supplies, Ine., 2100 North Eighth Street, Pekin,
Tllinois 61554.

63. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully set forth in
this paragraph.

64. Union Carbide denies the allegations of paragraph

64. Union Carbide avers that, on or about April 11, 1984, it

= 13 -
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 56 of 62

submitted a proposal to amend its standard distributor agreement
relating to the sale of argon to Burnidge Oxygen Distributing Co.,
900 Swift Avenue, North, Kansas City, Missouri 64116.

65. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully set forth in
this paragraph.

66. Union Carbide denies the allegations of paragraph
66. Union Carbide avers that, on or about May 23, 1984, it
submitted a proposal to amend its standard distributor agreement
relating to the sale of oxygen, nitrogen, argon, acetylene, and
helium to Pennsylvania Welding Supply Company, 2510 Route 73,
Cinnaminson, New Jersey 08077.

67. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully set forth in
this paragraph.

68. Union Carbide denies the allegations of paragraph
68. Union Carbide avers that, on or about August 1, 1984, it
submitted a proposal to amend its standard distributor agreement
relating to the sale of oxygen to Wyandotte Welding Supply, Inc.,
2025 Eureka Avenue, Wyandotte, Michigan 48192,

69. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully set forth in
this paragraph.

70. Union Carbide denies the allegations of paragraph
76. Union Carbide avers that, on or about February 20, 1985, it

submitted a proposal to amend its standard distributor agreement

- 14 -
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 57 of 62

relating to the sale of argon to ABCO Welding and Industrial
Supply Co., 130 Cross Road, Waterford, Connecticut 06385.

71. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully set forth in
this paragraph.

72. Union Carbide denies the allegations of paragraph
72. Union Carbide avers that, on or about March 29, 1985, it
submitted a proposal to amend its standard distributor agreement
relating to the sale of argon to Arundel Sales & Service Co., 1625
Union Avenue, Baltimore, Maryland 21211.

73. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully set forth in
this paragraph.

74. Union Carbide denies the allegations of paragraph
74. Union Carbide avers that, on or about June 14, 1985, Le
submitted a proposal to amend its standard distributor agreement
relating to the sale of argon to Herr Welding Supply, Inc., 2635
Sycamore Street, Harrisburg, Pennsylvania 171ll.

75. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully set forth in
this paragraph.

76. Union Carbide denies the allegations of paragraph
76. Union Carbide avers that, on or about June 20, 1985, it
submitted a proposal to amend its standard distributor agreement
relating to the sale of oxygen to Herr Welding Supply, Inc., 2635

Sycamore Street, Harrisburg, Pennsylvania 17111.

- 15 -
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 58 of 62

77. Union Carbide re-alleges and incorporates by refer-
ence paragraphs 1-8 of this Answer as though fully set forth in
this paragraph.

78. Union Carbide denies the allegations of paragraph
78. Union Carbide avers that, on or about August 22, 1985, it
submitted a proposal to amend its standard distributor agreement
relating to the sale of argon, nitrogen, oxygen, and acetylene to
Griffis Oxygen Inc., 786 University Avenue, St. Paul, Minnesota
55104.

79. Union Carbide re-alleges and incorporates by
reference paragraphs 1-8 of this Answer as though fully set forth
in this paragraph.

80. Union Carbide denies the allegations of paragraph 80.

SECOND DEFENSE

The Complaint, and each Count thereof, fails to state a

claim upon which relief can be granted.

THIRD DEFENSE

Defendant Union Carbide's standard distributor
agreement, entered into with each of the distributors identified
in the Complaint, provides for an initial term of one year and
provides for termination by the distributor effective on any
anniversary date upon at least 90 days' notice prior to such
anniversary date. Both the one-year initial term of Union

Carbide's standard distributor agreement and the distributor's

- 16-
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 59 of 62

right thereunder to terminate effective on any anniversary date
upon at least 90 days' notice prior to such anniversary date
continued in effect for each distributor identified in the

Complaint.

FOURTH DEFENSE

Defendant Union Carbide unilaterally eliminated any
requirement on the part of any distributor identified in the
Complaint to pay a cancellation or termination charge in relation
to any amendment or proposed amendment to Union Carbide's standard

distributor agreement.

- 17 -
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 60 of 62

WHEREFORE, defendant Union Carbide prays that the Com-

plaint herein be dismissed with prejudice, that Union Carbide be

awarded its costs and attorneys'

fees, and that Union Carbide have

such further relief as the Court deems just and proper.

ne) March 17, 1987
j

bre

Robert E. Crotby~

Kelley Drye & Bren /
101 Park Avenue

New York, New York 10178

(212) 808-7800

Of Counsel:

David H. Chaifetz
Assistant General Counsel
William F. McClure, Jr.
Group Counsel
Union Carbide Corporation
39 Old Ridgebury Road

Danbury, Connecticut 06817-0001

Respectfully submitted,

/ LP t/
Ll, pa tfe IN (
fA SAY 2 fe aA

rs
Glen S. ‘Howard

LA woe

W. Todd Miller

SUTHERLAND, ASBILL & BRENNAN
1666 K Street, N.W., Suite 800
Washington, D.C. 20006-2803
(202) 872-7800

Attorneys for
Union Carbide Corporation

- 18 -
Case 1:23-cv-03600-RDM Document 32-1 Filed 04/18/24 Page 61 of 62

CERTIFICATE OF SERVICE

I, Robert E. Crotty, certify that I caused a true copy

of the foreging Answer of Defendant Union Carbide Corporation

To The Complaint to be mailed via regular mail to:

Daniel P. Ducore, Esq.
Deputy Assistant Director
Bureau of Competition
Federal Trade Commission
Washington, D.C. 20580

Elliot Feinberg, Esq.
Assistant Director
Bureau of Competition
Federal Trade Commission

Washington, D.C. 20580

in a sealed postage-paid envelope on the 17th day of March,

1987.

ROBERT F. crore)
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Civil Action No. 87-748 (RO)

FEDERAL TRAM: COMMISSION,
Plaintiff,
- against -
UNION CARBIDE CORPORATION,

Defendant.

ANSWER OF DEFENDANT UNION CARBIDE
CORPORATION TO THE COMPLAINT

Robert E. Crotty Willis B. Snell
KELLEY DRYE & WARREN Donald I. Baker
101 Park Avenue Glen S. Howard
New York, New York 10178 W. Todd Miller

(212) 808-7800
SUTHERLAND, ASBILL & BRENNAN
1666 K Street, N.W., Suite 800
Washington, DC 20006-2803
(202) 872-7800

Of Counsel:

David H. Chaifetz
Assistant General Counsel
William F. McClure, Jr.
Group Counsel
UNION CARBIDE CORPORATION
39 Old Ridgebury Road
Danbury, Connecticut 06817-0001

